Case 2:11-cv-02920-KAM-PK Document 57 Filed 09/11/19 Page 1 of 2 PageID #: 289

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                                                                        September 11, 2019

Hon. Kiyo A. Matsumoto, U.S.D.J.
United States District Court, E.D.N.Y.
225 Cadman Plaza East
Brooklyn, New York 11201

Re:      Razzano v. Remsenburg-Speonk Union Free School District et al
         Docket No. 11-cv-02920-KAM-PK
         Our File No. YS5787W9
         REQUEST FOR TWO-WEEK EXTENSION OF BRIEFING SCHEDULE

Dear Judge Matsumoto:

Our office represents all Defendants in the above-referenced matter. We are writing, on consent
of opposing counsel, to respectfully request that the dispositive motion briefing schedule set
forth in the July 30, 2019 minute Order be extended by two weeks, as follows:

                                     Original Date                           New Date

         Moving Papers               9/12/2019                               9/26/2019
         Opposition                  10/10/2019                              10/24/2019
         Reply                       10/21/2019                              11/7/2019


This is the first request for an extension of time. The reason for the request is that additional
time is necessary to draft the motion papers due both to the voluminous nature of the file and


                                ___________________________________

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Case 2:11-cv-02920-KAM-PK Document 57 Filed 09/11/19 Page 2 of 2 PageID #: 290
Hon. Kiyo A. Matsumoto
September 11, 2019                                                                    Page |2

time constraints from other professional and personal obligations.   Thank you for your time and
attention to the above.

                                                    Respectfully submitted,

                                                    DEVITT SPELLMAN BARRETT, LLP

                                                    /s/
                                                    ________________________________
                                                    By: Scott J. Kreppein, Esq.


cc:    All Counsel (Via ECF)
